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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 United States of America,

        Plaintiff,
                                                Criminal No. 18-cr-20495
        v.
                                                Hon. David M. Lawson
 Ibraheem Izzy Musaibli,
      aka Abu Shifa Musaibli,
      aka Abu ‘Abd Al-Rahman Al-Yemeni,
      aka Abdallah Umar Al-Salih,
      aka Ibraheem ‘Izd ‘Umar Salih Musaibad,

        Defendant.


                 DEFENDANT’S ACKNOWLEDGMENT
                OF FIRST SUPERSEDING INDICTMENT


    I, Ibraheem Izzy Musaibli, defendant in this case, hereby acknowledge

 that I received a copy of the First Superseding Indictment before entering

 my plea and that I read it and understand its contents.

    I know that if I am convicted or plead guilty, I may be sentenced as

 follows:

   • Count One: 20 years’ imprisonment, a fine of $250,000, or both.

   • Count Two: 20 years’ imprisonment, a fine of $250,000, or both.




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   • Count Three: count dismissed on July 29, 2019 (ECF No. 72,

      PageID.208).

   • Count Four: mandatory 10 years’ imprisonment and a fine of up to

      $250,000.



                                        /s/ Ibraheem Izzy Musaibli
              (signed by Fabián Rentería w/ Mr. Musaibli’s consent)
                                        Ibraheem Izzy Musaibli
                                        Defendant



           ACKNOWLEDGMENT OF DEFENSE COUNSEL

     I acknowledge that I am counsel for defendant and that I have received
 a copy of the Standing Order for Discovery and Inspection which requires
 all pre-trial motions to be filed within twenty days of arraignment.



                                          /s/ Fabián Rentería Franco
                                          Fabián Rentería Franco
                                          Counsel for Defendant

 Dated: April 21, 2021




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